Case 23-10831-MFW   Doc 913   Filed 01/12/24   Page 1 of 4
                                                                                                                                                                                         Core/2002 Service List
                                         Description                                  CreditorName                     CreditorNoticeName                         Address1                         Address2               Address3                City      State       Zip      Country         Phone          Fax                         Email
                                                                                                                                                                                                                                                                                                                          daniel.guyder@allenovery.com;
                                                                                                                                                                                                                                                                                                                          bradley.pensyl@allenovery.com;
                        Counsel to Hon Hai Precision Industry Co.,                                                                                                                                                                                                                                                        chris.newcomb@allenovery.com;
                        Ltd. (a/k/a Hon Hai Technology Group),                                                  Daniel Guyder, Bradley Pensyl,                                                                                                                                                                            justin.ormand@allenovery.com;
                        Foxconn EV Technology, Inc., Foxconn EV                                                 Christopher Newcomb, Justin                                                                                                                                                212-610-6300;                  joseph.badtke-berkow@allenovery.com;
                        Property Development LLC, and Foxconn EV                                                Ormand, Joseph Badtke-Berkow,                                                                                                                                              212-756-1132;                  jacob.herz@allenovery.com;
                        System LLC                                      Allen & Overy LLP                       Jacob R. Herz, Robin Spigel           1221 Avenue of the Americas                                                        New York           NY      10020                  212-756-1127    212-610-6399   robin.spigel@allenovery.com
                        Counsel to Hon Hai Precision Industry Co.,
                        Ltd. (a/k/a Hon Hai Technology Group),
                        Foxconn EV Technology, Inc., Foxconn EV                                                                                                                                                                                                                                                           noah.brumfield@allenovery.com;
                        Property Development LLC, and Foxconn EV                                                Noah Brumfield, Patrick Pearsall,                                                                                                                                                                         patrick.pearsall@allenovery.com;
Page 2 of 4




                        System LLC                                      Allen & Overy LLP                       Michael Modesto Gale                  1101 New York Avenue, NW                                                           Washington         DC      20005                  202-683-3800    212-610-6399   michael.modestogale@allenovery.com
                        Counsel to Applied Medical Resources Corp.      Austria Legal, LLC                      Matthew P. Austria                    1007 N. Orange Street, 4th Floor                                                   Wilmington         DE      19801                  302-521-5197    302-291-1722   maustria@austriallc.com
                        Committee of Unsecured Creditors                Barry L. Leonard & Co. Inc.             Attn: Kim Parsons                     920 Brenner St                                                                     Winston-Salem      NC      27101                  336-971-9758                   kim@trans-machine.com
                        Top 30 and Committee of Unsecured
                        Creditors                                       Barry L. Leonard and Company Inc.       dba Trans Machine Technologies      Barry Leonard                          920 Brenner St                                Winston-Salem      NC      27101                  336-971-9758                   Barry@trans-machine.com
                                                                        Benesch Friedlander Coplan & Aronoff                                        1313 North Market Street, Suite                                                                                                                                       jhoover@Beneschlaw.com;
                        Counsel to Edward Hightower and Adam Kroll      LLP                                     Jennifer R. Hoover, Steven L. Walsh 1201                                                                                 Wilmington         DE      19801-6101             302-442-7010                   swalsh@Beneschlaw.com
                        Counsel to Benjamin Hebert and Atri Amin on
                        behalf of themselves and similarly situated                                                                                                                                                                                                                                                       greg.varallo@blbglaw.com;
                        stockholders of Lordstown Motors Corp. f/k/a    Bernstein Litowitz Berger & Grossmann   Gregory V. Varallo, Glenn R.                                                                                                                                                                              glenn.mcgillivray@blbglaw.com;
                        DiamondPeak Holdings Corp.                      LLP                                     McGillivray, Daniel Meyer             500 Delaware Avenue, Suite 901                                                     Wilmington         DE      19801                  302-364-3600                   daniel.meyer@blbglaw.com
                        Counsel to Benjamin Hebert and Atri Amin on
Filed 01/12/24




                        behalf of themselves and similarly situated                                                                                                                                                                                                                                                       jeroen@blbglaw.com;
                        stockholders of Lordstown Motors Corp. f/k/a    Bernstein Litowitz Berger & Grossmann   Jeroen van Kwawegen, Thomas G.                                                                                                                                                                            Thomas.James@blbglaw.com;
                        DiamondPeak Holdings Corp.                      LLP                                     James, Margaret Sanborn-Lowing        1251 Avenue of the Americas                                                        New York           NY      10020                  212-554-1400                   Margaret.Lowing@blbglaw.com
                        Counsel to the Official Committee of Equity                                             Matthew A. Sawyer, Sharon I.                                                                                                                                                                              msawyer@brownrudnick.com;
                        Security Holders                                Brown Rudnick LLP                       Dwoskin                               One Financial Center                                                               Boston             MA      02111                  617-856-8200    617-856-8201   sdwoskin@brownrudnick.com
                                                                                                                                                                                                                                                                                                                          rstark@brownrudnick.com;
                        Counsel to the Official Committee of Equity                                             Robert J. Stark, Bennett S.                                                                                                                                                                               bsilverberg@brownrudnick.com;
                        Security Holders                                Brown Rudnick LLP                       Silverberg, Michael S. Winograd       7 Times Square                                                                     New York           NY      10036                  212-209-4800    212-209-4801   mwinograd@brownrudnick.com
                        Counsel to Oracle America, Inc.                 Buchalter, A Professional Corporation   Shawn M. Christianson, Esq.           425 Market Street, Suite 2900                                                      San Francisco      CA      94105-3493             415-227-0900                   schristianson@buchalter.com
                        Attorney General of CA (business operations)    California Attorney General             Attn Bankruptcy Department            1300 I St., Ste. 1740                                                              Sacramento         CA      95814-2919             916-445-9555
                        Counsel to Cigna Health and Life Insurance
                        Company                                         Connolly Gallagher LLP                  Jeffrey C. Wisler                     1201 N. Market Street, 20th Floor                                                  Wilmington         DE      19801                  302-757-7300    302-658-0380   jwisler@connollygallagher.com
                        Official Committee of Equity Security Holders   Crestline Management, L.P.              Attn: Shaun McGowan                   201 Main Street, Suite 1100                                                        Fort Worth         TX      76102                  817-339-7600                   summitcompliance@crestlineinc.com
                        Bankruptcy Counsel to the to the Securities                                                                                   1105 North Market Street, Suite
Doc 913




                        Litigation Lead Plaintiff George Troicky        Cross & Simon, LLC                      Christopher P. Simon, Esq.            901                                                                                Wilmington         DE      19801                  302-777-4200    302-777-4224   csimon@crosslaw.com
                                                                                                                                                                                                                                                                                                                          attorney.general@state.de.us;
                        Delaware State AG and DOJ                       Delaware Dept of Justice                Attorney General                      Attn Bankruptcy Department           Carvel State Building      820 N French St    Wilmington         DE      19801                  302-577-8400    302-577-6630   attorney.general@delaware.gov
                        DE Secretary of State                           Delaware Secretary of State             Division of Corporations              Franchise Tax                        PO Box 898                                    Dover              DE      19903                  302-739-3073    302-739-5831   dosdoc_bankruptcy@state.de.us
                        DE State Treasury                               Delaware State Treasury                                                       820 Silver Lake Blvd., Suite 100                                                   Dover              DE      19904                  302-672-6700    302-739-2274   statetreasurer@state.de.us
                        Counsel to Oracle America, Inc.                 Doshi Legal Group, P.C.                 Amish R. Doshi, Esq.                  1979 Marcus Avenue, Suite 210E                                                     Lake Success       NY      11042                  516-622-2335                   amish@doshilegal.com
                                                                        Esopus Creek Value Series Fund LP -
                        Official Committee of Equity Security Holders   Series “A”                              Attn: Andrew L. Sole                  81 Newtown Ln. #307                                                                East Hampton       NY      11937                  631-604-5776                   andrewsole@ecvlp.com
                                                                                                                                                                                                                                                                                                                          citizenservices@myfloridalegal.com;
                        Attorney General of FL (emp operations)         Florida Attorney General                Attn Bankruptcy Department            PL-01 The Capitol                                                                  Tallahassee        FL      32399-1050             850-414-3300    850-487-2564   oag.civil.eserve@myfloridalegal.com
Case 23-10831-MFW




                                                                                                                                                                                           Grand Pavilion, Hibiscus   802 West Bay                                               Cayman
                        Foxconn                                         Foxconn (Far East) Limited                                                    P.O. Box 31119                       Way                        Road               Grand Cayman               KY1-1205     Islands
                                                                                                                Attention: Jerry Hsiao and Steven                                                                                                                                                                         jerry.hsiao@foxconn.com;
                        Foxconn                                         Foxconn EV Technology, Inc.             Yu                                    4568 Mayfield Road, Suite 204                                                      Cleveland          OH      44121                                                 stevenyu@foxconn.com
                                                                                                                c/o Hon Hai Precision Industry Co.,
                        Foxconn                                         Foxconn Ventures Ptd. Ltd.              Ltd. Attn Jerry Hsiao                 No. 66, Zhongshan Road               Tucheng Industrial Zone    Tucheng District   New Taipei City            23680        Taiwan                                   jerry.hsiao@Foxconn.com
                                                                                                                                                                                           Grand Pavilion, Hibiscus   802 West Bay                                               Cayman
                        Foxconn                                         Foxteq Holdings Inc.                                                          P.O. Box 31119                       Way                        Road               Grand Cayman               KY1-1205     Islands
                                                                                                                                                                                           Grand Pavilion, Hibiscus   802 West Bay                                               Cayman
                        Foxconn                                         Foxteq Integration Inc.                                                       P.O. Box 31119                       Way                        Road               Grand Cayman               KY1-1205     Islands
                        Counsel to Marelli North America, Inc.          Frost Brown Todd LLP                    A.J. Webb, Esq                        3300 Great American Tower            301 East Fourth Street                        Cincinnati         OH      45202                  513-651-6800    513-651-6981   awebb@fbtlaw.com
                                                                                                                                                      400 West Market Street Suite
                        Counsel to Akebono Brake Corporation            Frost Brown Todd LLP                    Edward M. King                        3200                                                                               Louisville         KY      40202-3363             502-568-0359                   tking@fbtlaw.com
                        Counsel to Marelli North America, Inc.          Frost Brown Todd LLP                    Patricia K. Burgess                   150 3rd Avenue South, Suite 1900                                                   Nashville          TN      37201                  615-251-5550    615-251-5551   pburgess@fbtlaw.com
                        Attorney General of GA (emp operations)         Georgia Attorney General                Attn Bankruptcy Department            40 Capital Square, SW                                                              Atlanta            GA      30334-1300             404-656-3300    404-657-8733   Agcarr@law.ga.gov
                        Foxconn                                         Hon Hai Precision Industry Co., Ltd     Attention Jerry Hsiao                 No. 66, Zhongshan Road           Tucheng Industrial Zone        Tucheng District   New Taipei City            23680        Taiwan                                   jerry.hsiao@Foxconn.com
                        Attorney General of IL (emp operations)         Illinois Attorney General               Attn Bankruptcy Department            James R. Thompson Ctr            100 W. Randolph St.                               Chicago            IL      60601                  312-814-3000                   bankruptcy_notices@ilag.gov
                        IRS                                             Internal Revenue Service                Attn Susanne Larson                   31 Hopkins Plz Rm 1150                                                             Baltimore          MD      21201                  800-913-9358    855-852-4141   SBSE.Insolvency.Balt@irs.gov
                        IRS                                             Internal Revenue Service                Centralized Insolvency Operation      PO Box 7346                                                                        Philadelphia       PA      19101-7346             800-973-0424    855-235-6787
                        IRS                                             Internal Revenue Service                Centralized Insolvency Operation      2970 Market St                                                                     Philadelphia       PA      19104                                  855-235-6787
                                                                                                                                                                                                                                                                                                                          bruce@katten.com;
                                                                                                                Bruce G. Vanyo, Sarah                                                                                                                                                                                     sarah.eichenberger@katten.com;
                        Co-Counsel to Edward Hightower and Adam                                                 Eichenberger, Jonathan Rotenberg,                                                                                                                                                                         jonathan.rotenberg@katten.com;
                        Kroll                                           Katten Muchin Rosenman LLP              Cindi M. Giglio                       50 Rockefeller Plaza                                                               New York           NY      10020-1605             212-940-8788                   cgiglio@katten.com
                                                                                                                                                                                                                                                                                           877-709-4757;
                        Claims and Noticing Agent                       KCC                                                                           222 N Pacific Coast Highway          Suite 300                                     El Segundo         CA      90245                  424-236-7235                   LordstownInfo@kccllc.com
                        Debtors                                         Lordstown Motors Corp.                  Attn: Adam Kroll                      27000 Hills Tech Court                                                             Farmington Hills   MI      48331                                                 Email Redacted
                                                                                                                                                                                                                                                                                                                          metkin@lowenstein.com;
                        Bankruptcy Counsel to the to the Securities                                             Michael S. Etkin, Esq., Andrew                                                                                                                                                                            abehlmann@lowenstein.com;
                        Litigation Lead Plaintiff George Troicky        Lowenstein Sandler LLP                  Behlmann, Esq.,Scott Cargill, Esq.    One Lowenstein Drive                                                               Roseland           NJ      07068                  973-597-2500    973-597-2333   scargill@lowenstein.com
                    In re Lordstown Motors Corp., et al.
                    Case No. 23-10831 (MFW)                                                                                                                                                   Page 1 of 3
                                                                                                                                                                                       Core/2002 Service List
                                         Description                                  CreditorName                     CreditorNoticeName                        Address1                        Address2               Address3                City    State       Zip      Country         Phone           Fax                           Email
                        Financial Advisor to the Official Committee of
                        Equity Security Holders                          M3 Advisory Partners                   Robert Winning                       1700 Broadway, 19th Floor                                                        New York          NY      10019                  212-202-2226                     rwinning@m3-partners.com
                        Attorney General of MI (business operations)     Michigan Attorney General              Attn Bankruptcy Department           G. Mennen Williams Building         525 W. Ottawa St.          P.O. Box 30212    Lansing           MI      48909                  517-335-7622     517-335-7644    miag@michigan.gov
                                                                                                                Heather L. Donald, Assistant         3030 West Grand Blvd., Ste 10-
                        Counsel to Michigan Department of Treasury       Michigan Department of Treasury        Attorney General                     200                                 Cadillac Place                               Detroit           MI      48202                  313-456-0140                     donaldh@michigan.gov
                        Counsel to GAC R&D Center Silicon Valley,        Miller, Canfield, Paddock and Stone,                                        150 W. Jefferson Avenue, Suite
                        Inc.                                             P.L.C.                                 Marc N. Swanson                      2500                                                                             Detroit           MI      48226                  313-496-7591     313-496-8452    swansonm@millercanfield.com
                        Counsel to the Official Committee of Equity                                                                                                                                                                                                                                                     emonzo@morrisjames.com;
                        Security Holders                                 Morris James LLP                       Eric J. Monzo, Brya M. Keilson       500 Delaware Avenue, Suite 1500                                                  Wilmington        DE      19801                  302-888-6800     302-571-1750    bkeilson@morrisjames.com
                                                                                                                                                                                                                                                                                                                        rdehney@morrisnichols.com;
                                                                                                                Robert J. Dehney, Matthew B.                                                                                                                                                                            mharvey@morrisnichols.com;
Page 3 of 4




                                                                                                                Harvey, Matthew O. Talmo, Donna      1201 North Market Street, 16th                                                                                                                                     mtalmo@morrisnichols.com;
                        Counsel to Foxconn                               Morris, Nichols, Arsht & Tunnell LLP   L. Culver                            Floor                               P.O. Box 1347                                Wilmington        DE      19899-1347             302-658-9200     302-658-3989    dculver@morrisnichols.com
                        Attorney General of NC (emp operations)          North Carolina Attorney General        Attn Bankruptcy Department           9001 Mail Service Center                                                         Raleigh           NC      27699-9001             919-716-6400     919-716-6750    ncago@ncdoj.gov
                                                                         Office of the United States Trustee                                                                                                                                                                                                            USTPRegion03.WL.ECF@USDOJ.GOV;
                        US Trustee for District of DE                    Delaware                               Benjamin Hackman                     844 King St Ste 2207                Lockbox 35                                   Wilmington        DE      19801                  302-573-6491     302-573-6497    benjamin.a.hackman@usdoj.gov
                                                                                                                                                                                                                                                                                       614-466-4986;
                        Attorney General of OH (business operations) Ohio Attorney General                      Attn Bankruptcy Department           30 E. Broad St. 14th Fl                                                          Columbus          OH      43215-0410             614-466-4320                     trish.lazich@ohioattorneygeneral.gov
                        Counsel to Benjamin Hebert and Atri Amin on
                        behalf of themselves and similarly situated
                        stockholders of Lordstown Motors Corp. f/k/a
                        DiamondPeak Holdings Corp.                   Pashman Stein Walder Hayden, P.C.          Joseph C. Barsalona II               1007 North Orange Street            4th Floor, Suite 183                         Wilmington        DE      19801                  302-592-6497                     jbarsalona@pashmanstein.com
                                                                                                                                                                                                                                                                                                                        mikehuang@paulhastings.com;
                        Counsel to Foxconn                               Paul Hastings LLP                      Mike Huang, Kevin P. Broughel        200 Park Avenue                                                                  New York          NY      10166                212-318-6662       212-230-7662    kevinbroughel@paulhastings.com
Filed 01/12/24




                        Foxconn                                          PCE Paragon Solutions Kft.                                                  Komarom                             Banki Donatu utca 1                                                    2900         Hungary
                        Attorney General of PA (emp operations)          Pennsylvania Attorney General          Attn Bankruptcy Department           16th Floor, Strawberry Square                                                    Harrisburg        PA      17120                717-787-3391       717-787-8242    info@attorneygeneral.gov
                                                                                                                                                                                                                                                                             United
                        Official Committee of Equity Security Holders    Pertento Partners LLP                  Attn: Ian Trundle                    111 Park Street                                                                  London                    W1K 7JL      Kingdom +44-20-7173-1051                   ian@pertento.com
                        Counsel to Logicalis, Inc.                       Polsinelli PC                          Christopher A. Ward                  222 Delaware Ave., Suite 1101                                                    Wilmington        DE      19801                302-252-0920       302-252-0921    cward@polsinelli.com
                        Counsel to Benjamin Hebert and Atri Amin on
                        behalf of themselves and similarly situated                                                                                                                                                                                                                                                     gfbruckner@pomlaw.com;
                        stockholders of Lordstown Motors Corp. f/k/a                                            Gustavo F. Bruckner, Samuel J.                                                                                                                                                                          sjadams@pomlaw.com;
                        DiamondPeak Holdings Corp.                       Pomerantz LLP                          Adams, Ankita Sangwan                600 3rd Avenue                                                                   New York          NY      10016                  212-661-1100                     asangwan@pomlaw.com
                        Top 30 and Committee of Unsecured
                        Creditors                                        SA Automotive LTD                      Shar Hedayat                         1307 Highview Dr                                                                 Webberville       MI      48892                  1517.521.4205    517-521-4520    Shar.Hedayat@saautomotive.com
                        Committee of Unsecured Creditors                 SA Automotive Ltd.                     Attn: Katherine Diederich            1307 Highview Drive                                                              Webberville       MI      48892                  920-889-2133                     katherine.diederich@aesseinvltd.com
                                                                                                                                                     1201 North Market Street, Suite
                        Counsel to Harco Manufacturing Group, LLC        Saul Ewing LLP                         Evan T. Miller                       2300                                                                             Wilmington        DE      19801                  302-421-6864                     evan.miller@saul.com
                                                                                                                                                                                         100 Pearl St., Suite 20-                                                                                                       bankruptcynoticeschr@sec.gov;
                        SEC Regional Office                              Securities & Exchange Commission       NY Regional Office                   Regional Director                   100                                          New York          NY      10004-2616             212-336-1100     212-336-1320    nyrobankruptcy@sec.gov
Doc 913




                                                                                                                                                                                                                    1617 JFK
                        SEC Regional Office                              Securities & Exchange Commission       PA Regional Office                   Regional Director                   One Penn Center            Boulevard Ste 520 Philadelphia      PA      19103                  215-597-3100     215-597-3194    philadelphia@sec.gov
                                                                                                                                                                                                                                                                                                        202-772-9317;   SECBankruptcy-OGC-ADO@SEC.GOV;
                        SEC Headquarters                                 Securities & Exchange Commission       Secretary of the Treasury            100 F St NE                                                                      Washington        DC      20549                  202-942-8088     202-772-9318    secbankruptcy@sec.gov
                                                                         Skadden, Arps, Slate, Meagher & Flom   Joseph O. Larkin, Esq., Stephen J.   One Rodney Square, 920 N. King                                                                                                                                     Joseph.Larkin@Skadden.com;
                        Counsel to LAS Capital LLC                       LLP                                    Della Penna, Esq.                    Street                                                                           Wilmington        DE      19801                  302-651-3000     302-651-3001    stephen.dellapenna@skadden.com
                                                                         Skadden, Arps, Slate, Meagher & Flom
                        Counsel to LAS Capital LLC                       LLP                                    Robert D. Drain, Esq.                One Manhattan West                                                               New York          NY      10001                  212-735-3000     212-735-2000    Robert.Drain@skadden.com
                                                                         Skadden, Arps, Slate, Meagher & Flom   Ron E. Meisler, Esq., Jennifer                                                                                                                                                                          Ron.Meisler@Skadden.com;
                        Counsel to LAS Capital LLC                       LLP                                    Madden, Esq.                         155 North Wacker Drive                                                           Chicago           IL      60606-1720             312-407-0549     312-407-8641    Jennifer.Madden@Skadden.com
Case 23-10831-MFW




                        Counsel to Applied Medical Resources Corp.       Snell & Wilmer L.L.P.                  Andrew B. Still                      600 Anton Boulevard, Suite 1400                                                  Costa Mesa        CA      92626-7689             714-427-7000     714-427-7799    astill@swlaw.com
                        Counsel to Elaphe Propulsion Technologies                                                                                    919 North Market Street, Suite
                        Ltd.                                             Sullivan Hazeltine Allinson LLC        William A. Hazeltine                 420                                                                              Wilmington        DE      19801                  302-428-8191     302-428-8195    whazeltine@sha-llc.com
                        Top 30 and Committee of Unsecured                                                                                                                                                                                                                              248-588-1100;                    jbasso@diversifiedtoolinggroup.com;
                        Creditors                                        Superior Cam Inc                       John Basso                           31240 Stephenson Hwy                                                             Madison Heights   MI      48071                  248-703-0357     248- 588-1104   jmbasso@diversifiedtoolinggroup.com
                                                                                                                                                                                                                                                                                                                        bankruptcytax@oag.texas.gov;
                        Attorney General of TX (emp operations)          Texas Attorney General                 Attn Bankruptcy Department           300 W. 15th St                                                                   Austin            TX      78701                  512-463-2100     512-475-2994    communications@oag.texas.gov
                        Counsel to the Official Committee of                                                    David M. Fournier, Tori L.                                                                                                                                                                              david.fournier@troutman.com;
                        Unsecured Creditors                              Troutman Pepper Hamilton Sanders LLP   Remington                            Hercules Plaza, Suite 5100          1313 N. Market Street                        Wilmington        DE      19801                  302-421-8390     302-421-8390    tori.remington@troutman.com
                        Counsel to the Official Committee of
                        Unsecured Creditors                              Troutman Pepper Hamilton Sanders LLP   Deborah Kovsky-Apap                  875 Third Avenue                                                                 New York          NY      10022                  212-808-2726     212-704-6288    deborah.kovsky@troutman.com
                        Counsel to the Official Committee of
                        Unsecured Creditors                              Troutman Pepper Hamilton Sanders LLP   Francis J. Lawall                    3000 Two Logan Square               18th & Arch Streets                          Philadelphia      PA      19103-2799             215-981-4451     215-981-4450    francis.lawall@troutman.com
                        Counsel to the Official Committee of
                        Unsecured Creditors                              Troutman Pepper Hamilton Sanders LLP   Sean P. McNally                      4000 Town Center, Suite 1800                                                     Southfield        MI      48075                  248-359-7700     248-359-7700    sean.mcnally@troutman.com
                        US Attorney for District of Delaware             US Attorney for District of Delaware   US Attorney for Delaware             1313 N Market Street                Hercules Building                            Wilmington        DE      19801                  302-573-6277     302-573-6220    usade.ecfbankruptcy@usdoj.gov
                        Counsel to Elaphe Propulsion Technologies,
                        Ltd                                              Warner Norcross + Judd LLP             Stephen B. Grow                      180 Ottawa Ave NW                                                                Grand Rapids      MI      49503                  616-752-2158                     sgrow@wnj.com
                        Co-Counsel for the Debtors and Debtors-in-
                        Possession                                       White & Case LLP                       David M. Turetsky                    1221 Avenue of the Americas                                                      New York          NY      10020                  212-819-8200                     david.turetsky@whitecase.com
                        Co-Counsel for the Debtors and Debtors-in-
                        Possession                                       White & Case LLP                       Jason N. Zakia                       111 South Wacker Drive                                                           Chicago           IL      60606                  312-881-5400                     jzakia@whitecase.com
                                                                                                                                                                                                                                                                                                                        rkampfner@whitecase.com;
                        Co-Counsel for the Debtors and Debtors-in-                                              Roberto Kampfner, Doah Kim, RJ       555 South Flower Street, Suite                                                                                                                                     doah.kim@whitecase.com;
                        Possession                                       White & Case LLP                       Szuba                                2700                                                                             Los Angeles       CA      90071                  213-620-7700                     rj.szuba@whitecase.com
                                                                                                                                                                                                                                                                                                                        tlauria@whitecase.com;
                        Co-Counsel for the Debtors and Debtors-in-                                              Thomas E Lauria, Matthew C.          200 South Biscayne Boulevard,                                                                                                                                      mbrown@whitecase.com;
                        Possession                                    White & Case LLP                          Brown, Fan B. He                     Suite 4900                                                                       Miami             FL      33131                  305-371-2700                     fhe@whitecase.com
                        Local Co-Counsel for the Debtors and Debtors-                                           Donald J. Detweiler, Morgan L.       1313 North Market Street, Suite                                                                                                                                    don.detweiler@wbd-us.com;
                        in-Possession                                 Womble Bond Dickinson (US) LLP            Patterson                            1200                                                                             Wilmington        DE      19801                  302-252-4320     302-252-4330    morgan.patterson@wbd-us.com
                    In re Lordstown Motors Corp., et al.
                    Case No. 23-10831 (MFW)                                                                                                                                                 Page 2 of 3
                                                                                                                                                            Core/2002 Service List
                                         Description                            CreditorName                     CreditorNoticeName              Address1             Address2         Address3         City   State       Zip   Country         Phone         Fax                         Email
                                                                                                                                                                                                                                                                         bankfilings@ycst.com;
                        Counsel to Darren Post, Steve Burns, John                                                                                                                                                                                                        sbeach@ycst.com;
                        LaFleur, and Rich Schmidt                   Young Conaway Stargatt & Taylor, LLP   Sean M. Beach, Shane Reil   Rodney Square          1000 North King Street              Wilmington   DE      19801               302-571-6600   302-571-1253   sreil@ycst.com
Page 4 of 4
Filed 01/12/24
Doc 913
Case 23-10831-MFW   In re Lordstown Motors Corp., et al.
                    Case No. 23-10831 (MFW)                                                                                                                      Page 3 of 3
